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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION
UNITED STATES,                                )
                                              )
      Plaintiff,                              )
                                              )
      v.                                      )
                                              )
NANCY ZAK,                                    )      Case No. 1:18-cv-05774-AT
CLAUD CLARK III,                              )
ECOVEST CAPITAL, INC.,                        )
ALAN N. SOLON,                                )
ROBERT M. MCCULLOUGH, and                     )
RALPH R. TEAL, JR.,                           )
                                              )
      Defendants.                             )

     [PROPOSED ORDER OF] FINAL JUDGMENT OF PERMANENT
         INJUNCTION AGAINST DEFENDANT NANCY ZAK
      Plaintiff United States and Defendant Nancy Zak have filed a joint motion

for entry of final judgment that resolves all of the United States’ claims against

Nancy Zak in this case. Pursuant to Fed. R. Civ. P. 54(b), and because there is no

just reason for delay, the Court grants that motion and enters final judgment as set

forth below.

            PERMANENT INJUNCTION AGAINST NANCY ZAK

      A.       This Court has personal jurisdiction over Nancy Zak. This Court has

subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1340 and 1345

and 26 U.S.C. §§ 7402, 7407, and 7408.
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      B.     Without admitting any of the allegations in the complaint, Nancy Zak

has consented to the entry of this injunction.


      C.     Pursuant to 26 U.S.C. §§ 7402, 7407, and 7408, Nancy Zak is

permanently barred from directly or indirectly:

             1.     organizing, promoting, or selling (or assisting in the

             organization, promotion, or sale of) any plan or arrangement that

             involves a deduction for a qualified conservation contribution under

             26 U.S.C. § 170(h), including, but not limited to, any transaction

             described in IRS Notice 2017-10;

             2.     participating (directly or indirectly) in the sale of any

             conservation easement syndicate or any other plan or arrangement that

             involves a deduction for a qualified conservation contribution under

             26 U.S.C. § 170(h), including, but not limited to, any transaction

             described in IRS Notice 2017-10;

             3.     making or furnishing (or causing another to make or furnish) a

             statement about the allowance of any federal tax benefit as a result of

             participating in a conservation easement syndicate or any other plan or

             arrangement that involves a deduction for a qualified conservation

             contribution under 26 U.S.C. § 170(h), including, but not limited to,

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             any transaction described in IRS Notice 2017-10, which she knows or

             has reason to know is false or fraudulent as to a material matter;

             4.    facilitating for compensation any donation that is intended to

             qualify as a qualified conservation contribution under 26 U.S.C. §

             170(h), including, but not limited to, any transaction described in IRS

             Notice 2017-10;

             5.    preparing (or assisting in the preparation of) any federal tax

             return, or any document that may be filed in support of a tax return or

             other submission to the IRS claiming benefits resulting from a

             qualified conservation contribution under 26 U.S.C. § 170(h),

             including, but not limited to, Forms 8283 (appraisal summaries) and

             attachments or qualified appraisals; and

             6.    representing any individual before the IRS with respect to any

             donation that is intended to qualify as a qualified conservation

             contribution under 26 U.S.C. § 170(h), including, but not limited to,

             any transaction described in IRS Notice 2017-10.

      D.     Pursuant to 26 U.S.C. § 7402(a), Ms. Zak shall, by February 28th each

year for each of the next 6 years, sign a declaration under penalties of perjury

affirming that she has not engaged in any of the conduct identified above in

paragraph C during the prior calendar year. Ms. Zak shall send that declaration to
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the following two recipients at the following addresses (unless notified of new

addresses):

              Internal Revenue Service
              Lead Development Center Stop MS5040
              24000 Avila Road
              Laguna Niguel, CA 92677

              Department of Justice, Tax Division
              Civil Trial Section, Central Region
              P.O. Box 7238
              Ben Franklin Station
              Washington, D.C. 20044

      E.      Pursuant to 26 U.S.C. § 7402(a), Nancy Zak shall, no later than 30

days from the date the Final Judgment of Permanent Injunction is entered in this

case, contact by mail (and also by e-mail, if an e-mail address is known) all

persons who purchased an interest in a conservation easement syndicate during the

past 10 years that Nancy Zak promoted, organized, sold (or assisted with the

promotion, organization, and sale of) or otherwise facilitated, and provide such

persons with a copy of the Final Judgment of Permanent Injunction. Ms. Zak shall

also provide to counsel for the United States, within 30 days of the Court’s

judgment, a signed and dated certified mail receipt from the USPS and copies of

the USPS electronic verification, for each person who was mailed such copy.

Except for the Final Judgment of Permanent Injunction, no additional materials



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may be included in the notification to the purchasers unless approved by the United

States or the Court.

      F.     Pursuant to 26 U.S.C. § 7402(a), Nancy Zak shall, within 30 days of

entry of the Final Judgment of Permanent Injunction in this case, provide a copy of

the Final Judgment of Permanent Injunction in this case to all employees,

independent contractors, agents, directors, and officers during the past 10 years of

any entities owned or controlled by Ms. Zak which promoted, facilitated or were

involved with completed conservation easements, and provide to counsel for the

United States, within 90 days of the Court’s entry of final judgment a signed and

dated certified mail receipt from the USPS and copies of the USPS electronic

verification, for each person who was mailed such copy. Except for the Final

Judgment of Permanent Injunction, no additional materials may be included in the

notification to the employees, independent contractors, agents, directors, and

officers unless approved by the United States or the Court.

      G.     Pursuant to 26 U.S.C. § 7402(a), Nancy Zak shall, within 14 days of

entry of the Final Judgment of Permanent Injunction in this case, prominently

display a copy of the Final Judgment of Permanent Injunction on the front page

and every subpage of all websites Nancy Zak controls or maintains that contain (or

contained) information about conservation easements, and any website on which

Nancy Zak advertises or markets conservation easements.
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